        Case 5:16-cv-00054-CAR Document 31 Filed 09/13/17 Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                             MACON DIVISION

CHARLENE BEELER,                             )
                                             )
      Plaintiff,                             )      CIVIL ACTION FILE
                                             )
v.                                           )      NO. 5:16-cv-00054-CAR
                                             )
DITECH FINANCIAL, LLC                        )
f/k/a GREEN TREE SERVICING, LLC,             )
and DOES 1-10 inclusive,                     )
                                             )
      Defendant.                             )

                      JOINT NOTICE OF SETTLEMENT

      Defendant Ditech Financial LLC f/k/a Green Tree Servicing, LLC

(“Defendant” or “Ditech”), by counsel, hereby notify the Court that the Parties

have reached a settlement in principle with Plaintiff and are working to finalize the

settlement documents. The Parties anticipate dismissing this case, with prejudice,

within 30 days, or filing a status report concerning the settlement if the settlement

has not been finalized by that time.

      Respectfully submitted, this 13th day of September, 2017.

PREPARED AND PRESENTED BY:                CONSENTED TO BY:


/s/ Mark J. Windham                       /s/ Joseph P. McClelland
Marlee Waxelbaum                          with express permission
Georgia Bar No. 155779                    Joseph P. McClelland, Esq.
        Case 5:16-cv-00054-CAR Document 31 Filed 09/13/17 Page 2 of 3




marlee.waxelbaum@troutmansanders.com     Georgia Bar No. 483407
Mark J. Windham                          joseph@jacksonlaws.com
Georgia Bar No. 113194                   JOSEPH P. MCCLELLAND, LLC
mark.windham@troutmansanders.com         P.O. Box 100
TROUTMAN SANDERS LLP                     Jackson, GA 30233
600 Peachtree Street, N.E., Suite 5200   Tel. (770) 775-0938
Atlanta, GA 30308-2216                   Fax (770) 775-0938
Tel. (404) 885-3000
Fax (404) 885-3900                       Counsel for Plaintiff


Counsel for Defendant




                                         2
        Case 5:16-cv-00054-CAR Document 31 Filed 09/13/17 Page 3 of 3




                       CERTIFICATE OF SERVICE

      I certify that I have on this day filed the within and foregoing JOINT

NOTICE OF SETTLEMENT using the Court’s ECF system, which will provide

notice as follows:

                          Joseph P. McClelland, Esq.
                       JOSEPH P. MCCLELLAND, LLC
                                 P.O. Box 100
                              Jackson, GA 30233

      This 13th day of September, 2017.


                                              /s/ Mark J. Windham
                                              Mark J. Windham
                                              Georgia Bar No. 113194




                                          3
